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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )              Case No. 8:11CR40
                                               )
               v.                              )
                                               )      FINDINGS AND RECOMMENDATION
JENNIFER TRINIDAD and                          )               AND ORDER
JOSE OCHOA-CALDERON,                           )
                                               )
                       Defendants.             )

       These cases came before the court on May 4, 2011 and continued on June 7, 2011, on the
following motions:
       1)      Defendant Trinidad's Motion to Suppress (#28); and
       2)      Defendant Ochoa-Calderon's Motion to Suppress (#22).
       I stated my conclusions on the record and my decision to recommend that the motions to
suppress be denied in part and granted in part. In accordance with that announcement,
       IT IS RECOMMENDED to the Honorable Joseph F. Bataillon, United States Chief District
Judge, that the Motions to Suppress (#28)and (#22) be denied in part and granted in part.
       FURTHER, IT IS ORDERED:
       1.      The clerk shall cause a transcript of the hearing to be prepared and filed.
       2.      Pursuant to NECrimR 59.2, any objection to the magistrate's Findings and
Recommendation shall be filed with the Clerk of the Court within fourteen (14) days after the
unredacted transcript is available to counsel. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection. Failure to file a brief in support of any objection may be deemed an abandonment of the
objection.
       Dated this 7th day of June 2011.

                                               BY THE COURT:


                                               s/ F.A. Gossett, III
                                               United States Magistrate Judge
